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                                   No. 23-50224

            In the United States Court of Appeals
                     for the Fifth Circuit
    LEILA GREEN LITTLE, JEANNE PURYEAR, KATHY KENNEDY, REBECCA JONES,
            RICHARD DAY, CYNTHIA WARING, AND DIANE MOSTER,

                                                                   Plaintiffs-Appellees,
                                         v.

  LLANO COUNTY, RON CUNNINGHAM, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
      JUDGE, JERRY DON MOSS, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
    COMMISSIONER, PETER JONES, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
   COMMISSIONER, MIKE SANDOVAL, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
   COMMISSIONER, LINDA RASCHKE, IN HER OFFICIAL CAPACITY AS LLANO COUNTY
   COMMISSIONER, AMBER MILUM, IN HER OFFICIAL CAPACITY AS LLANO COUNTY
LIBRARY SYSTEM DIRECTOR, BONNIE WALLACE, IN HER OFFICIAL CAPACITY AS LLANO
 COUNTY LIBRARY BOARD MEMBER, ROCHELLE WELLS, IN HER OFFICIAL CAPACITY AS
  LLANO COUNTY LIBRARY BOARD MEMBER, RHONDA SCHNEIDER, IN HER OFFICIAL
          CAPACITY AS LLANO COUNTY LIBRARY BOARD MEMBER, AND
GAY BASKIN, IN HER OFFICIAL CAPACITY AS LLANO COUNTY LIBRARY BOARD MEMBER,

                                                                Defendants-Appellants.

                     Appeal from the United States District Court
                 for the Western District of Texas, Austin Division
                                1:22-cv-00424-RP
            APPELLEES’ CORRECTED RESPONSE IN
        OPPOSITION TO APPELLANTS’ MOTION FOR STAY
        OF PRELIMINARY INJUNCTION PENDING APPEAL
              AND MOTION TO EXPEDITE APPEAL
                           (Counsel Listed Inside Cover)




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                                    No. 23-50224

             In the United States Court of Appeals
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                                                                    Plaintiffs-Appellees,
                                          v.

  LLANO COUNTY, RON CUNNINGHAM, IN HIS OFFICIAL CAPACITY AS LLANO COUNTY
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          CAPACITY AS LLANO COUNTY LIBRARY BOARD MEMBER, AND
GAY BASKIN, IN HER OFFICIAL CAPACITY AS LLANO COUNTY LIBRARY BOARD MEMBER,
                                                                 Defendants-Appellants.
                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in

the outcome of this case. These representations are made in order that the judges of

this court may evaluate possible disqualification or recusal.

Plaintiffs-Appellees
Leila Green Little
Jeanne Puryear
Kathy Kennedy
Rebecca Jones

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      Plaintiffs-Appellees Leila Green Little, Jeanne Puryear, Kathy Kennedy,

Rebecca Jones, Richard Day, Cynthia Waring, and Diane Moster (“Plaintiffs”)

respectfully submit this Opposition to Defendants-Appellants’ (“Defendants”)

Motion to stay the District Court’s preliminary injunction pending appeal.

                                INTRODUCTION

      Defendants’ Motion is procedurally and substantively improper. For both

reasons, it should be denied.

      The District Court correctly enjoined Defendants from removing books from

the Llano County Public Libraries in violation of the First Amendment after

receiving two days of live testimony, hundreds of exhibits and 120 pages of

briefing and supporting evidence. Substantial evidence supports the District

Court’s finding that Defendants’ removal of 17 books—which appeared on a

Banned Book list that Defendants internally circulated—was based on viewpoint

and content discrimination. That finding is fatal to Defendants’ appeal.

      With no alleged injury except having to re-list 17 books in the library

catalog (which Defendants already have done), Defendants seek to circumvent this

Court’s review of the record below and the District Court’s extensive findings and

conclusions. They also seek to force Plaintiffs to brief this motion—which largely

overlaps the merits of Defendants’ appeal—in three days, with fewer than half the

words allotted for an appeal.


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      At the same time, Defendants seek to bypass this Court’s stay procedures,

which require them to resolve the issues in District Court first. Instead, they ask

this Court to rule on evidence and theories that they deprived the District Court of

the opportunity to address, including their new contention that the preliminary

injunction forces them to restore thousands of books that they had removed from

the shelves prior to any dispute arising—an incorrect reading of the injunction

which could, and should, have been resolved below.

      On the merits, Defendants do not meet any, much less all four of the factors

in Nken v. Holder, 556 U.S. 418, 427 (2009), for staying an injunction pending

appeal. Given the District Court’s extensive factual findings of viewpoint and

content-based discrimination, they cannot show a strong likelihood of success. Nor

have they proven that they would suffer any irreparable injury from preserving the

status quo, given that they already replaced the 17 banned books (the “Banned

Books”) to the library catalog. By contrast, allowing them to again remove the

books would irreparably injure Plaintiffs and harm the public interest in having a

library system free from censorship.

      For each of these reasons, Defendants’ motion should be denied. The Court

should require full briefing on the merits on a reasonable schedule based on this

Court’s Rules and the Federal Rules of Appellate Procedure.




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                                 BACKGROUND

      A.     The Parties

      Plaintiffs-Appellees Leila Green Little, Jeanne Puryear, Kathy Kennedy,

Rebecca Jones, Richard Day, Cynthia Waring, and Diane Moster (“Plaintiffs”) are

patrons of the Llano County Library. (D.App.495.)1

      Defendants are Llano County and the individuals who ordered and effected

the removal of books from the County’s three libraries. Defendant Cunningham

serves as County Judge and Defendants Moss, Jones, Sandoval, and Raschke serve

as County Commissioners. (D.App.84.) Defendant Milum is the Library System

Director. (Id.) Defendants Wallace, Wells, Baskin, and Schneider advocated for the

book removal and were subsequently appointed by the Commissioners Court to sit

on the County’s Library Board. (Id.)

      B.     Defendants Censor Books with which They Disagree
      The District Court found that Defendants removed 17 books from the Llano

County libraries because they disagreed with the viewpoints of the authors and the

contents of the books. (D.App.511.) In doing so, the District rejected as pretext



1
  Citations to “D.App.#” are to the respective page number of Defendants’
continuously numbered appendices attached to their stay motion, with one
exception. Plaintiffs cite to the unpaginated preliminary injunction hearing
transcripts Defendants entered at Dkt. 17 as “Dkt.17 at #” to avoid confusion.
Citations to “P.App.#” are to the respective page number of Plaintiffs’
continuously numbered appendix attached to this stay opposition.

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Defendants’ claims that they were merely “weeding” the books pursuant to

standard library procedures.

      Defendants began removing the relevant books in summer 2021, when Moss

and Cunningham directed Milum to permanently remove seven children’s books 2

from the Llano County Library System. (D.App.496-497; Dkt.17 at 69, 174, 129-

30.) Their directions were prompted by complaints from Defendants Schneider and

Wells—now Library Advisory Board members—who disapproved of the books’

contents. (D.App.496-497; Dkt.17 at 2, 66, 179.) Based on those complaints,

Cunningham and Moss “told [Milum] to take the books out of the system”; Milum

followed her superiors’ directives, taking the books from the shelves and

permanently deleting them from the library catalog. (D.App.497; Dkt.17 at 66, 68,

174, 129-30.)3

      In the following months, Milum removed more books from the library

system, at Cunningham’s direction. (D.App.497.) These included Maurice

Sendak’s Caldecott Award-winning book In the Night Kitchen, which contains



2
 These books, known in this action as the “Butt Books” and “Fart Books,” contain
cartoons illustrations of farting and rear ends.
3
 At the hearing, Milum attempted to deny that she removed the Butt and Fart
Books at least in part because she was so directed by Moss, but after reviewing her
contemporaneous notes of the meeting—“an accurate reflection of the
conversation”—she agreed she had been so instructed. (Dkt.17 at 67.) She also
agreed that “Cunningham also directed [her] to remove the books.” (Dkt.17 at 69.)

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illustrations of a naked toddler (Dkt.17 at 72-73, 97); and It’s Perfectly Normal by

Robie Harris, an illustrated children’s health book. (Dkt.17 at 30-31, 77, 351.)

      Shortly thereafter, Defendants curated the “Wallace List,” a “list of books

that [Defendant] Bonnie Wallace thought were inappropriate and should be

removed from the Llano County Library System.” (D.App.497-498; Dkt.17 74, 83,

91.) Milum’s “boss” Cunningham sent her the Wallace List on November 10,

2021, forwarding an email describing the books on the list as “pornographic filth.”

(D.App.497-498; Dkt.17 at 92, 98-99.) These “inappropriate” and “pornographic”

books included titles Defendants described as “CRT and LGBTQ” books like:

Caste: The Origins of Our Discontent by Isabel Wilkerson; They Called

Themselves the K.K.K: The Birth of an American Terrorist Group by Susan

Campbell Bartoletti; Spinning by Tillie Walden; Being Jazz: My Life as a

(Transgender) Teen by Jazz Jennings; Shine by Lauren Myracle; Under the Moon:

A Catwoman Tale by Lauren Myracle; Gabi, a Girl in Pieces by Isabel Quintero;

and Freakboy by Kristin Elizabeth Clark. (D.App.498.) Milum testified that:

“When I received [the Wallace List], we went and pulled all of those books.”

(Dkt.17 at 84; D.App.498.)

      At the hearing, Defendants claimed that they had only removed the 17 books

pursuant to standard “weeding” procedures. They also argued that they had mooted

the need for an injunction because their lawyer had purchased copies of the Banned


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Books and donated them to library without putting them in the library catalog so

that patrons could find them. The District Court found that Defendants’ “weeding”

explanation was a pretext and rejected their legal contention as to mootness for the

reasons discussed in Section II.A.3 below.

      C.     The Proceedings Below
      Plaintiffs filed this action on April 25, 2022. (D.App.1.) On May 9, 2022,

Plaintiffs filed their preliminary injunction motion. (D.App.34.) After agreeing to

produce certain documents and deponents prior to the preliminary injunction

hearing (D.App.276-78), Defendants opposed Plaintiffs’ preliminary injunction

motion on July 15, 2022. (P.App.1.) On July 29, 2022, the motion was fully

briefed. (P.App.27.)

      The District Court conducted a two-day hearing on Plaintiffs’ preliminary

injunction motion. (See generally Dkt.17.) The parties put on seven witnesses and

introduced 32 documents for approximately nine hours of testimony. (Id.) After the

hearing, Plaintiffs submitted a post-hearing brief. (P.App.175.) Defendants

responded (D.App.295), Plaintiffs replied (P.App.206), and Defendants submitted

a sur-reply. (D.App.358.) The parties’ pre- and post-hearing briefs totaled 120

pages. On March 23, 2023, the parties filed a stipulation of undisputed facts.

(D.App.491.)




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      On March 30, 2023, in a 26-page opinion, the District Court issued a

preliminary injunction (the “Preliminary Injunction”) instructing that “the books at

issue be made available for checkout through the Library System’s catalogs,” but

leaving to Defendants’ discretion the “proper placement of the books [within the

library] or restrictions on access.” (D.App.495.) Defendants filed a notice of appeal

the same day. (P.App.285.)

      On April 11, 2023, Defendants moved the District Court to stay the

Preliminary Injunction pending appeal. (P.App.315.) On April 19, 2023,

Defendants filed a motion requesting that the District Court summarily deny their

stay motion without giving Plaintiffs an opportunity to respond in order to “allow

the defendants to request a stay pending appeal from the Fifth Circuit under Rule

8(a).” (P.App.361.) On April 20, 2023, the District Court denied Defendants’

motion to summarily deny their stay motion. (P.App.393.) The motion to stay the

Preliminary Injunction remains pending before the District Court.

                                   ARGUMENT

I.    DEFENDANTS’ MOTION IS PROCEDURALLY IMPROPER

      Defendants cannot stay the District Court’s preliminary injunction while the

same motion is pending in the District Court. Rule 8 requires that a stay motion

must “state that, a motion [for a stay] having been made, the district court denied

the motion or failed to afford the relief requested [in the motion] and state any


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reasons given by the district court for its action.” Fed. R. App. P. 8(a)(2)(A)(ii).

The District Court has not denied Defendants’ stay motion. Defendants’ motion

should thus be denied as procedurally improper.

      This Court has explained that “the district court should have the opportunity

to rule on the reasons and evidence presented in support of a stay” prior to

appellate consideration. Ruiz v. Estelle, 650 F.2d 555, 567 (5th Cir. 1981) (per

curiam); see also In re Montes, 677 F.2d 415, 416 (5th Cir. 1982) (refusing request

to suspend injunction without district court decision as appellate court “cannot take

evidence or hear matters initially” and is “dependent entirely on the record made in

a trial court”). That is because “the fundamentally different roles of appellate and

trial courts mandate consideration of [a stay motion’s] new evidence by the district

court under Fed. R. Civ. P. 62(c) before Rule 8 proceedings in th[e appellate] court

. . . Only upon completion of the district court’s factfinding role, should [the

appellate] court consider any relief pending appeal.” Chem. Weapons Working

Grp. (CWWG) v. Dep’t of the Army, 101 F.3d 1360, 1362 (10th Cir. 1996).

      Enforcement of this Rule is particularly important here, where Defendants’

main arguments for irreparable harm are based on evidence and theories that the

District Court has not had the opportunity to address. In Ruiz, this Court denied a

stay motion for failure to satisfy Rule 8(a) when the motion contained arguments

and evidence that were not included in the stay motion below. 650 F.2d at 566-67.


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The Tenth Circuit in CWWG likewise held that appellants could not bypass the

district court when their stay request was “sought predominantly on the basis of

new evidence concerning events which occurred after the district court denied the

motion for a preliminary injunction” and “has not yet been considered by the

district court.” CWWG, 101 F.3d at 1362.

      Defendants’ stay motion here similarly raises new factual and legal

arguments. Defendants argue below that the Llano County Library System is at

risk of closing due to the Injunction. (Mot. at 6.) This contention is incorrect.

Plaintiffs have submitted evidence that the County Commissioners decided to keep

the libraries open after a public hearing. (P.App.383 n.3.)

      Defendants argue that the Injunction requires them to return every library

book weeded since the libraries opened. (Mot. at 17.) This interpretation is

erroneous, and best determined by the Court that issued the Injunction.

      Given these ongoing disputes below, Defendants’ attempt to bypass Rule 8

is inappropriate. Defendants cite no authority to support such efforts. Accordingly,

the Court should deny this motion and allow the District Court to rule on

Defendants’ stay motion below.

II.   ALL FOUR NKEN FACTORS WEIGH AGAINST STAYING THE
      PRELIMINARY INJUNCTION

      “[T]he accepted standard for review of [a district court’s stay decision] is

whether or not the trial court abused its sound discretion in denying the stay,”

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Beverly v. United States, 468 F.2d 732, 740 n.13 (5th Cir. 1972), not whether the

preliminary injunction was properly granted. Here, because Defendants moved the

Court for a stay without allowing the trial court to exercise any discretion, there is

no order to review. Even if there were, Defendants do not come close to meeting

their burden of proving that they are entitled to a stay.

      “A stay [pending appeal] is an extraordinary remedy.” Texas v. United

States, 40 F.4th 205, 215 (5th Cir. 2022) (per curiam) (quotation omitted) (denying

federal agency’s request to stay vacatur of agency rule). It is “an intrusion into the

ordinary processes of administration and judicial review, and accordingly is not a

matter of right, even if irreparable injury might otherwise result to the appellant.”

Nken, 556 U.S.at 427 (internal citations omitted). “The party requesting a stay

bears the burden of showing that the circumstances justify an exercise of [the

court’s] discretion.” Id. at 433–34 (emphasis added). In deciding whether to stay a

preliminary injunction pending appeal, federal courts consider four factors: (1)

whether the stay applicant has made a strong showing that he is likely to succeed

on the merits; (2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested

in the proceeding; and (4) where the public interest lies. Barber v. Bryant, 833 F.3d

510, 511 (5th Cir. 2016) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

The first two factors of this standard carry the greatest weight. Id. at 511.


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      Defendants misstate the standard and the burden on their motion, claiming

that, Plaintiffs must make “a clear showing” that they were entitled to a

preliminary injunction. But doing so would “invert the customary role of a stay,

requiring a definitive merits decision earlier rather than later.” Nken, 556 U.S. at

432 (statute permitting preliminary injunction under heightened evidence standard

did not apply to stay request). As this Court held in Ruiz, “[W]e do not decide the

merits of [movant’s] appeal from the lower court’s injunction; instead, we consider

only whether the district court’s injunction should be stayed pending complete

review.” 650 F.2d at 565. This level of review properly limits the Court’s attention

to whether a stay is necessary to maintain the status quo pending resolution of the

appeal; otherwise the Court would “in effect decide[] the merits, in an expedited

manner . . . that does not so much preserve the availability of subsequent review as

render it redundant.” Id. The burden therefore is on Defendants to show the District

Court abused its discretion in applying the four Nken factors such that they are

entitled to the extraordinary remedy of a stay.

      A.     Defendants Have Not Shown that They Are Likely to Succeed on
             the Merits

      Defendants cannot satisfy the requisite “strong showing” of likelihood of

success on their appeal. Nken, 556 U.S. at 433. First, the District Court has already

weighed and rejected Defendants’ post-hoc explanation for their discriminatory

conduct. Second, Defendants cannot point to any legitimate flaws in the District

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Court’s legal conclusions. Third, as the District Court explained, Defendants’

efforts to moot this case through voluntary cessation do not negate Plaintiffs’

claims.

              1.    The District Court Correctly Found That Defendants
                    Engaged in Impermissible Viewpoint and Content-Based
                    Discrimination
      The District Court found that “Plaintiffs have clearly shown that

Defendants’ decisions were likely motivated by a desire to limit access to the

viewpoints to which Wallace and Wells objected,” including views on LGBTQ and

racial equity. (D.App.513.) “[T]here is no real question that [Defendant Milum’s]

targeted review [of the Banned Books] was directly prompted by complaints from

patrons and county officials over the content of these titles.” The Court’s findings

were based on substantial evidence. (D.App.515; see generally D.App.512-515

(collecting record evidence of viewpoint and content-based discrimination).)

      Defendants do not challenge the District Court’s finding that county official

Defendants Cunningham and Moss directed Milum to remove the Books based on

their own discriminatory views, or the record on which its findings were based.

Defendants point only to Milum’s contradictory and self-serving declarations, then

claim the District Court did not “attempt[] to resolve whether Milum is telling the

truth.” (Mot. at 14.) But the District Court already explained its basis for rejecting

Milum’s narrative as a “pretextual” and “post-hoc justification.” (D.App.514.)


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      The Injunction identifies the robust evidentiary record that contradicts

Milum’s statements, including: communications from Defendants Wallace and

Wells to Defendants Cunningham, Moss, and Milum complaining about the

Banned Books as “pornographic filth” and “CRT and LGBTQ books,” (D.App.512

(citing emails, call logs, and complaint logs)); communications from Defendants

Cunningham and Moss to Milum directing her to remove the Banned Books from

the shelves, (id. (citing emails and meeting logs)) 4; emails and hearing testimony

confirming Milum closed the library to check for “inappropriate books” at the

direction of the Commissioners Court (id.); and testimony from Milum that “the

books that she pulled were books that Wallace, Wells, or the Commissioners

identified as ‘inappropriate’” (id.). 5 The District Court was entitled to credit

Milum’s live testimony, subject to the crucible of cross-examination, over post-hoc

declarations written by her lawyer who was, himself, a participant in the

underlying book banning. See 11A Charles Alan Wright & Arthur R. Miller, Fed.

Prac. & Proc. Civ. § 2949 (3d ed. 2023) (when injunction depends on credibility,

4
 In one email thread including Moss, Wells reported that Moss and Cunningham
had “instructed” Milum to “remove certain books,” and she thanked Moss “for
[his] help in this situation and all [he had] done to remedy it!” (Dkt.17 at 220.)
Wells then reported that the work of ascertaining which of the “CRT and LGBTQ
book[s]” were in the Library had been completed.
5
 Defendants admitted that the reason the “CRT and LGBTQ” books were
“selected for weeding” was because they were on the “[Wallace List].” (Dkt.17 at
84.) And Milum readily admitted that no books other than those on the Wallace
List were weeded at this time. (Id. at 86.)

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“it seems desirable to require that the determination be made on the basis of their

demeanor during direct and cross-examination, rather than on the respective

plausibility of their affidavits.”). The Court observed that additional evidence of

Defendants’ dislike of the Banned Books included that Defendants did not follow

their own weeding criteria in removing the books. (D.App.512-15.)

      Each of these findings alone, and especially together, supports the District

Court’s determination that Defendants engaged in viewpoint and content-based

discrimination.

             2.     Defendants’ Conduct Violated the First Amendment

      Defendants’ additional attacks on the District Court’s legal conclusions fail

for two reasons: first, the District Court correctly applied strict scrutiny to its

finding that Defendants were motivated by improper viewpoint and content-based

discrimination; and second, the District Court correctly identified binding

precedent that does not allow Defendants to remove books based on that

discrimination simply because they operate a public library.

                    a.     The District Court’s Factual Findings Trigger Strict
                           Scrutiny of Defendants’ Book Removal Decisions

      Defendants argue that the District Court ruled that “‘viewpoint

discrimination’ is categorically forbidden in a public library’s weeding decisions,

and that any content-based weeding decision must satisfy the strict-scrutiny

standard.” (Mot. at 10.) The District Court’s actual ruling was substantially

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narrower: that strict scrutiny applies in this case because Defendants engaged in

viewpoint and content-based discrimination. (D.App.516.)

      This holding is correct under longstanding First Amendment principles.

Iancu v. Brunetti, 139 S. Ct. 2294, 2299 (2019) (if a speech restriction “is

viewpoint-based, it is unconstitutional”); Rosenberger v. Rector & Visitors of Univ.

of Va., 515 U.S. 819, 828 (1995) (“It is axiomatic that the government may not

regulate speech based on its substantive content or the message it conveys.”).

“Official censorship based on a state actor’s subjective judgment that the content

of protected speech is offensive or inappropriate is viewpoint discrimination.”

Robinson v. Hunt County, 921 F.3d 440, 447 (5th Cir. 2019) (citing Matal v. Tam,

137 S. Ct. 1744, 1763 (2017)).

      Similarly, content discrimination violates the First Amendment unless the

law is narrowly tailored to achieve a compelling government interest. Int’l Soc. for

Krishna Consciousness, Inc. v. Lee, 505 U.S. 672, 678 (1992); R.A.V. v. City of St.

Paul, 505 U.S. 377, 382 (1992) (“Content-based regulations are presumptively

invalid.”). An action that is “content based on its face is subject to strict scrutiny

regardless of the government's benign motive, content-neutral justification, or lack

of ‘animus toward the ideas contained’ in the regulated speech.” Reed v. Town of

Gilbert, 576 U.S. 155, 165 (2015) (quoting Cincinnati v. Discovery Network, Inc.,

507 U.S. 410, 429 (1993)).


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                    b.     Removing materials from public libraries based on
                           viewpoint and content discrimination violates the
                           First Amendment
      Defendants assert that the District Court erred in relying on Board of

Education v. Pico, 457 U.S. 853 (1982) and Campbell v. St. Tammany Parish

School Board, 64 F.3d 184 (5th Cir. 1995). (Mot. at 15.) Their arguments are

incorrect. Pico and Campbell squarely address the removal of books from a library.

      Pico holds that “the First Amendment prohibits the removal of books from

libraries based on either viewpoint or content discrimination,” (D.App.511

(Injunction Order citing Pico, 457 U.S. at 871)), and Campbell similarly holds that

“the ‘decision to remove [books] must withstand greater scrutiny within the

context of the First Amendment than would a decision involving a curricular

matter’” (D.App.513 (quoting Campbell, 64 F.3d at 189-90)). “To hold otherwise”

that removal is not subject to heightened scrutiny “would be to entirely disregard

Campbell.” (D.App.514.) See Pico, 457 U.S. at 871-72 (“[O]ur holding today

affects only the discretion to remove books . . . simply because they dislike the

ideas contained in those books . . . .” (emphasis in original)).

      This Court recently reiterated this principle in an analogous context. In

NetChoice, L.L.C. v. Paxton, 49 F.4th 439 (5th Cir. 2022), the Court considered the

validity of a Texas law that would prohibit social media platforms from removing

posted user content that they dislike. The social media companies argued that their


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editorial discretion to select what content may be made available was equal to their

discretion to remove content after it had already been posted. The Court rejected

this argument, stating there is no authority “even remotely suggesting that ex post

censorship constitutes editorial discretion akin to ex ante selection.” Id. at 464

(emphasis in original).

      The cases on which Defendants rely also recognize the distinction between

selection and removal. Chiras v. Miller, 432 F.3d 606, 619 (5th Cir. 2005), a

school textbook selection case, relied on that difference in distinguishing that

matter from Pico: “Because Pico addressed the removal of an optional book from

the school library, not the selection of a textbook for use in the classroom, we

decline to apply Pico to the facts before us.” 432 F.3d at 619 (emphasis added).

The Supreme Court in United States v. American Library Association, Inc. also

only addressed the constraints on content selection in holding that blocking

pornography downloads on library public computers is a permissible form of

content selection. 539 U.S. 194, 212 (2003).

      Defendants argue that schools may engage in discriminatory book removal.

Mot. at 10-12. This is inapposite. Public schools, unlike public libraries, are

recognized “vehicles for inculcating fundamental values,” Pico, 457 U.S. at 864;

Chiras, 432 F.3d at 611 (“states enjoy broad discretionary powers in the field of

public education . . . to establish public school curricula which accomplishes the


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states’ educational objectives”). Courts therefore permit schools to remove books

they determine to be “pervasively vulgar” or lacking “educational suitability.” Id.

at 871. Even then, “local school boards may not remove books from school library

shelves simply because they dislike the ideas contained in those books and seek by

their removal to ‘prescribe what shall be orthodox in politics, nationalism, religion,

or other matters of opinion.’” Pico, 457 U.S. at 871 (quoting W. Virginia State Bd.

of Educ. v. Barnette, 319 U.S. 624, 642 (1943)); see also Campbell, 64 F.3d at 189

(Pico’s most narrow concurrence “does not reject the plurality’s assessment of the

constitutional limitations on school officials’ discretion to remove books from a

school library”).

      These limited exceptions for schools—none of which would permit

Defendants’ removal of books here—do not extend to public libraries, in which

people of all ages and orthodoxies engage in freewheeling inquiry and exploration

of ideas. The First Amendment protects school libraries from all but the most

narrow forms of education-motivated censorship a fortiori it is even more

protective of the free flow of information in public libraries. See, e.g., Sund v. City

of Wichita Falls, 121 F. Supp. 2d 530, 548 (N.D. Tex. 2000) (“The [First

Amendment] principles set forth in Pico—a school library case—have even greater

force when applied to public libraries.”)




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              3.    The District Court Properly Determined that Defendants’
                    Voluntary Cessation Does Not Obviate Plaintiffs’ First
                    Amendment Claims
      The District Court correctly determined that “Defendants’ creation of an ‘in-

house checkout system’ comprises precisely the type of posturing the voluntary

cessation exception is meant to prevent.” (D.App.506); see also Ctr. for Biological

Diversity, Inc. v. BP Am. Prod. Co., 704 F.3d 413, 425 (5th Cir. 2013) (defendants

cannot “evade sanction by predictable protestations of repentance and reform after

a lawsuit is filed”). Allowing that system to resume would place a significant and

disproportionate burden on Plaintiffs’ ability to access books Defendants deem

unacceptable. See, e.g., Sund, 121 F. Supp. 2d at 534. Plaintiffs would have no

reliable way of knowing whether and when the Books are actually available.

Instead, they must repeatedly visit the library and request the status of any Book

they wish to check out.

      Defendants acknowledge that Plaintiffs “remain ‘injured’ by the continued

absence of those books from the library shelves.” (Mot. at 8.) While they

characterize denying Plaintiffs’ constitutional rights as a mere “trifle,” id., the

District Court’s Order found that Defendants’ original book removal and their

secret library system are both intended to obstruct Plaintiffs’ exercise of their

fundamental right to access information. (D.App.507.) This is a First Amendment

injury.


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      B.     Defendants Have Not Suffered and Will Not Suffer Any Injury
             From the Preliminary Injunction

      Defendants have not identified any irreparable injury they would suffer

absent a stay. As noted in Section I, Defendants’ arguments (Mot. at 14-15) that

the libraries will close and the Injunction requires them to restore books removed

decades ago are factually and legally incorrect.6 Even if Defendants had closed the

libraries, it would be a circumstance of their own making. Defendants previously

planned to close the Library System in the event of an injunction, not from fear of

“expos[ing] its librarians and county officials to lawsuits” (Mot. at 16), but to

continue their unconstitutional censorship. (P.App.392 (Feb. 2, 2023 text message

from Defendant Wallace stating “Llano’s County leaders are amazing!! The judge

had said, if we lose the injunction, he will CLOSE the library because he WILL

NOT put the porn back into the kid’s section!”).)

      Defendants’ second alleged harm, that librarians will not be able to remove

books if they are damaged, is neither concrete nor an actual injury. “Speculative

injury is not sufficient; there must be more than an unfounded fear on the part of

the applicant [for a stay].” United States v. Fluitt, No. 22-30316, 2022 WL

3098734, at *2 (5th Cir. Aug. 4, 2022).

6
 On April 13, 2023, after holding a public hearing, the Commissioners’ Court
voted to remove the proposed closure of the library system from consideration. See
Commissioner Court Minutes, Llano County Texas, Apr. 13, 2023,
https://www.co.llano.tx.us/upload/page/0961/2023%20Minutes/11LCCC%20SPE
CIAL%20CALLED%20MINUTES%2004-13-2023.pdf.

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      This leaves restoring the 17 Banned Books to the library catalog. Defendants

have already done this. 7

      C.     Plaintiffs Will Suffer an Irreparable Deprivation of Their First
             Amendment Rights If a Stay Is Granted

      Defendants’ assertion that Plaintiffs would suffer no harm from a stay of the

preliminary injunction because “because each of the 17 books will remain

available through the Llano Library’s in-house checkout system” (Mot. at 16.)

ignores both the evidence below and binding Fifth Circuit precedent. Defendants

do not address the extensive findings by the District Court finding irreparable harm

caused by Defendants’ conduct and finding that the “in-house checkout system”

does not to mitigate that harm. (D.App.516-17.) Nor do the Defendants engage

with this Court’s precedent holding that the “loss of First Amendment freedoms for

even minimal periods of time constitutes irreparable injury justifying the grant of a

preliminary injunction.” Texans for Free Enter. V. Texas Ethics Comm’n, 732 F.3d

535, 539 (5th Cir. 2013). Indeed, “[w]hen an alleged deprivation of a constitutional

right is involved, most courts hold that no further showing of irreparable injury is

necessary.” Opulent Life Church v. City of Holly Springs, Miss., 697 F.3d 279, 295

(5th Cir. 2012).




7
 See Llano County Library System Catalog, https://llano.biblionix.com/catalog/, in
which the Banned Books now appear.

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       D.    The Public Interest Weighs Heavily Towards Keeping an
             Injunction That Protects First Amendment Freedoms

       As the District Court found, “injunctions protecting First Amendment

freedoms are always in the public interest.” Texans for Free Enter. v. Texas Ethics

Comm’n, 732 F.3d 535, 539 (5th Cir. 2013). Defendants offer no countervailing

interest that would be served by a stay. Contrary to Defendants’ arguments (Mot. at

17), there is no public interest in issuing a stay to deter other library patrons from

enforcing their First Amendment rights elsewhere. Such an effect would injure, not

protect, the public.

III.   DEFENDANTS DO NOT HAVE GOOD CAUSE TO EXPEDITE
       THEIR APPEAL OF THE PRELIMINARY INJUNCTION
       Defendants have no reason to expedite their appeal because they do not face

any imminent or irreparable injury. They are not entitled to bypass other litigants

simply because Plaintiffs might ultimately prevail on the merits of their claims.

       Fifth Circuit Rule 27.5 requires that: “Only the court may expedite an appeal

and only for good cause.” See U.S. v. Cluck, Nos. 98-50440, 98-50682, 1999 WL

642875, at *1, (5th Cir. July 27, 1999) (per curiam) (denying motion to expedite

appeal for lack of good cause); U.S. v. Porter, No. 95-60163, 1995 WL 581640, at

*6, (5th Cir. Aug. 30, 1995) (per curiam) (same; incarcerated person’s desire to

avoid potential overdetention was not good cause). Fifth Circuit Rule 27.4 further

requires that, “[w]here . . . the party has a serious need for the court to act within a


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specified time, the motion must state the time requirement and describe both the

nature of the need and the facts that support it.”

      As set forth supra Section II.C, Defendants cannot identify any harm to

them from adhering to the Injunction, which requires only that they replace the 17

books that they removed. Defendants’ concern that the District Court might rule on

the merits of Plaintiffs’ claims before this appeal is decided is insufficient cause to

expedite the appeal. Such an outcome, which remains speculative at best, see

Porter, 68 F.3d at 468, is an accepted part of the judicial process. See Chase Home

Finance LLC v. Hall, No. 08-50415, 2009 WL 1426913, at *1 (5th Cir. May 22,

2009) (dismissing appeal of preliminary injunction as moot upon district court’s

judgment entering permanent injunction).

                                   CONCLUSION

      For the reasons stated above, the Court should deny Defendants’ Motion.


      Dated: May 1, 2023                Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE


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                                            /s/ Katherine P. Chiarello
                                            Katherine P. Chiarello




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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of May, 2023, I electronically submitted
the foregoing Corrected Opposition to Appellants’ Motion for Stay of Preliminary
Injunction Pending Appeal and Motion to Expedite to the Clerk of the Court of the
United States Court of Appeals for the Fifth Circuit using the Court’s ECF system,
which sent a Notice of Electronic Filing to the attorneys of record.
                                                /s/ Katherine P. Chiarello
                                                Katherine P. Chiarello




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             CERTIFICATE OF ELECTRONIC COMPLIANCE

      Counsel also certifies that on May 1, 2023, this brief was transmitted to Mr.
Lyle W. Cayce, Clerk of the United States Court of Appeals for the Fifth Circuit,
through http://www.pacer.gov.
      Counsel further certifies that: (1) required privacy redactions have been
made, 5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the
paper document, 5th Cir. R. 25.2.1; and (3) the document has been scanned with
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